Case 6:16-cv-02024-RBD-TBS Document 21-1 Filed 03/10/17 Page 1 of 13 PageID 88




               EXHIBIT "A"
Case 6:16-cv-02024-RBD-TBS Document 21-1 Filed 03/10/17 Page 2 of 13 PageID 89



                               FLSA SETTLEMENT AGREEMENT

        This FLSA Settlement Agreement (hereinafter referred to as “Agreement”), is entered

 into by and between Lina Arguelles, on behalf of herself, her heirs, executors, administrators,

 legal representatives and assigns (hereinafter referred to collectively as “Arguelles”) (hereinafter

 referred to collectively as “Arguelles”) and Noor Baig Inc. d/b/a 7-Eleven Store #36041A,

 Mirza R. Baig ("Mirza"), Mughalai Enterprises, Inc. (a/k/a Mughalai Enterprises Inc. and a/k/a

 7-Eleven Store #30045A), and 7-Eleven Inc. (hereinafter referred to collectively as “The

 Released Parties”).   Throughout this Agreement, Arguelles and The Released Parties shall

 collectively be referred to as the “Parties.” Mirza has, at all material times, been President of

 Noor Baig Inc. and Mughalai Enterprises, Inc. the only officer of either said corporation, and the

 only individual at either said corporation responsible for payroll and payment of same. This

 Agreement shall not in any way be construed as an admission by The Released Parties of any

 violation of any law or any other liability including common law liability to Arguelles.

        WHEREAS, Arguelles was employed by Noor Baig Inc. d/b/a 7-Eleven Store #36041A,

        WHEREAS, Arguelles has alleged unlawful employment practices in violation of Florida

 and Federal law against Noor Baig Inc. by filing a lawsuit titled, Arguelles, Lina et al. v. Noor

 Baig, Inc. d/b/a 7-Eleven Store #36041A, Case No.: 6:16-cv-2024-Orl-37TBS, which includes

 allegations which the Released Parties vehemently deny,

                NOW WHEREFORE, in consideration of the promises and mutual covenants

 herein contained, the sufficiency of which is hereby acknowledged, the Parties hereto agree as

 follows:
Case 6:16-cv-02024-RBD-TBS Document 21-1 Filed 03/10/17 Page 3 of 13 PageID 90



          1.       Released Parties’ Obligations to Arguelles. Noor Baig Inc. agrees to pay to

 Arguelles the total amount of Three Thousand Five Hundred Dollars ($3,500.00), allocated as

 follows:

          A.       Installment One (Due on or before March 6, 2017)1:

                   i.       A check in the amount of $1,750.00 made payable to Lina Arguelles

          representing alleged unpaid overtime and minimum wages and alleged liquidated

          damages. No deductions shall be made from this check and a Form 1099 shall be issued;

          and

          B.       Installment Two (Due on or before March 17, 2017):

                   i.       A check in the amount of $250.00 made payable to Lina Arguelles

          representing alleged unpaid overtime and minimum wages and alleged liquidated

          damages. No deductions shall be made from this check and a Form 1099 shall be issued;

          and

                   ii.      A check in the amount of $1,500.00 made payable to her attorneys,

          Morgan & Morgan, P.A., for attorneys’ fees and costs.

          The settlement payments described in Paragraph 1 of this Agreement shall be due in

 Arguelles’s counsel’s office (c/o Kim De Arcangelis, Esq., 20 N. Orange Avenue, Suite 1400,

 Orlando, FL 32801) on or before the dates specified therein. Should The Released Parties fail to

 make a payment(s) of the settlement funds as described in this Agreement, Plaintiff’s counsel

 shall give written notice of the default payment via email at Andrew Spark, Esquire via

 electronic mail at abspark@msn.com.               In the event that The Released Parties fail to cure the

 default by delivering the late payment(s) to Plaintiff’s counsel’s office within three (3) calendar


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  Installment one has been received by Plaintiffs’ counsel and will continue to be held in trust until the Court enters
 an Order approving this Agreement and dismissing the lawsuit with prejudice.


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Case 6:16-cv-02024-RBD-TBS Document 21-1 Filed 03/10/17 Page 4 of 13 PageID 91



 days of the written notice, the Parties stipulate to a final judgment against Noor Baig Inc. d/b/a 7-

 Eleven Store #36041A and Mirza R. Baig, jointly and severally, for the balance of all payments

 due under this Agreement, plus an additional $500.00 as liquidated damages, plus attorneys’ fees

 and costs incurred in securing such judgment. Morgan and Morgan, P.A. and Kim De

 Arcangelis, Esquire agree to hold all settlement checks described in Paragraph 1 of this

 Agreement in trust until the Court enters an Order approving this Agreement and dismissing the

 lawsuit with prejudice.

        2.      Court Approval of the Settlement and Dismissal of Lawsuit. Upon receipt of

 the fully executed Agreement, the Parties shall file a Joint Motion for Approval of the Settlement

 Agreement and for Dismissal of the Lawsuit with Prejudice.

        3.      Arguelles’s Obligations to the Released Parties. Except as outlined in Paragraph

 1 of this Agreement, Arguelles acknowledges that no other payments are due and owing to her as a

 result of the hours worked during her employment with the Released Parties. Arguelles shall not

 initiate or instigate any future judicial or administrative proceedings against the Released Parties or

 anyone else that in any way involve allegations or facts arising from the hours worked during her

 employment with, or in connection to, the Released Parties in any forum as of the date of execution

 of this Agreement.

        4.      No Admissions. By entering into this Agreement, no Party admits any liability,

 fault or wrongdoing.

        5.      Payment of Attorney’s Fees. Each Party shall be responsible for payment of

 their own attorneys’ fees and costs, except as provided in Paragraph 1.

        6.      Authority to Enter Into Agreement. The Parties represent and warrant that they

 are authorized to enter into and that they have the authority to perform the terms of this




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Case 6:16-cv-02024-RBD-TBS Document 21-1 Filed 03/10/17 Page 5 of 13 PageID 92



 Agreement. The Parties represent and warrant that they have not sold, assigned, transferred,

 conveyed or otherwise disposed of all or any portion of the Released Claims.

        7.      Non-Severability. The other plaintiff to this action, Lina Arguelles’ Husband

 Mario Amaran, has also entered into a settlement agreement to resolve this action. The Released

 Parties have entered into the settlement agreements in the expectation that the settlement with

 each plaintiff is dependent upon the settlement with both plaintiffs.

        8.      Execution of Agreement in Subparts. This Agreement may be executed in any

 number of counterparts, each of which shall be deemed to be an original, but all of which

 together shall constitute one and the same instrument. Facsimile and electronic copies of the

 executed Agreement shall have the same force and effect as an original copy.

        9.      Right to Attorneys’ Fees for Enforcement. In the event any Party breaches this

 Agreement, the non-breaching Party shall be entitled to enforce all provisions of this Agreement

 in Court seeking all remedies available to it both in law and equity. The prevailing Party shall be

 entitled to recover its attorneys’ fees and costs incurred in any proceeding to enforce this

 Agreement, including all fees and costs through all appeals.

        10.     Choice of Law and Venue. This Agreement shall be governed by and construed

 in accordance with the laws of the State of Florida, without regard to its choice of laws or

 conflict of laws principles.    The courts of Orange County, Florida, shall have exclusive

 jurisdiction over the Parties with respect to any dispute or controversy between them arising

 under, relating to, or in connection with this Agreement, and the Parties consent to such

 jurisdiction in such courts and waive any objections to jurisdiction.

        11.     No Reliance on Other Statements. Except as expressly provided herein, the

 Parties represent and warrant that in executing this Agreement, they do not rely upon and have




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Case 6:16-cv-02024-RBD-TBS Document 21-1 Filed 03/10/17 Page 6 of 13 PageID 93



 not relied upon any oral or written representation, promise, warranty or understanding made by

 any of the Parties or their representatives with regard to the subject matter, basis or effect of this

 Agreement.

        12.     Full Participation. The Parties acknowledge that each Party has participated in

 the drafting of this Agreement and each has had an equal opportunity to participate in the

 drafting of this Agreement. No ambiguity shall be construed against any Party based upon a

 claim that the Party drafted the ambiguous language.

        13.     Additional Facts. The Parties acknowledge and assume the risk that additional or

 different facts which they believe to exist may now exist or may be discovered after this

 Agreement has been entered into. The Parties agree that any such additional, different or

 contrary facts shall in no way limit, waive, affect or alter this Agreement.

        14.     Consultation. The Parties acknowledge that they have been advised to consult an

 attorney prior to signing this agreement. The Parties understand that whether or not they consult

 with an attorney is their decision. In this respect, Arguelles has consulted with and been advised

 by Kim De Arcangelis, Esquire in this matter and is satisfied that Ms. De Arcangelis has

 provided her with excellent legal advice and has explained to him all of her options in connection

 with this Agreement. In addition, Noor Baig Inc. d/b/a 7-Eleven Store #36041A and Mirza R.

 Baig have consulted with and been advised Andrew Bennett Spark, Esquire in this matter and are

 satisfied that Mr. Spark has provided excellent legal advice and has explained to the Company all

 of its options in connection with this Agreement.

        15.     Full and Knowing Acceptance. This Agreement, consisting of six (6) pages, is

 freely and voluntarily entered into by the Parties. The Parties acknowledge that they have read




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Case 6:16-cv-02024-RBD-TBS Document 21-1 Filed 03/10/17 Page 7 of 13 PageID 94
Case 6:16-cv-02024-RBD-TBS Document 21-1 Filed 03/10/17 Page 8 of 13 PageID 95



                              FLSA SETTLEMENT AGREEMENT

        This FLSA Settlement Agreement (hereinafter referred to as “Agreement”), is entered

 into by and between Mario Amaran, on behalf of himself, his heirs, executors, administrators,

 legal representatives and assigns (hereinafter referred to collectively as “Amaran”) (hereinafter

 referred to collectively as “Amaran”) and Noor Baig Inc. d/b/a 7-Eleven Store #36041A,

 Mirza R. Baig ("Mirza"), Mughalai Enterprises, Inc. (a/k/a Mughalai Enterprises Inc. and a/k/a

 7-Eleven Store #30045A), and 7-Eleven Inc. (hereinafter referred to collectively as “The

 Released Parties”).   Throughout this Agreement, Arguelles and The Released Parties shall

 collectively be referred to as the “Parties.” Mirza has, at all material times, been President of

 Noor Baig Inc. and Mughalai Enterprises, Inc. the only officer of either said corporation, and the

 only individual at either said corporation responsible for payroll and payment of same. This

 Agreement shall not in any way be construed as an admission by The Released Parties of any

 violation of any law or any other liability including common law liability to Amaran.

        WHEREAS, Amaran was employed by Noor Baig Inc. d/b/a 7-Eleven Store #36041A,

        WHEREAS, Amaran has alleged unlawful employment practices in violation of Florida

 and Federal law against Noor Baig Inc. by filing a lawsuit titled, Arguelles, Lina et al. v. Noor

 Baig, Inc. d/b/a 7-Eleven Store #36041A, Case No.: 6:16-cv-2024-Orl-37TBS, which includes

 allegations which the Released Parties vehemently deny,

                NOW WHEREFORE, in consideration of the promises and mutual covenants

 herein contained, the sufficiency of which is hereby acknowledged, the Parties hereto agree as

 follows:
Case 6:16-cv-02024-RBD-TBS Document 21-1 Filed 03/10/17 Page 9 of 13 PageID 96



          1.       Released Parties’ Obligations to Amaran. Noor Baig Inc. agrees to pay to

 Amaran the total amount of Three Thousand Five Hundred Dollars ($3,500.00), allocated as

 follows:

          A.       Installment One (Due on or before March 6, 2017)1:

                   i.       A check in the amount of $1,750.00 made payable to Mario Amaran

          representing alleged unpaid overtime and minimum wages and alleged liquidated

          damages. No deductions shall be made from this check and a Form 1099 shall be issued;

          and

          B.       Installment Two (Due on or before March 17, 2017):

                   i.       A check in the amount of $250.00 made payable to Mario Amaran

          representing alleged unpaid overtime and minimum wages and alleged liquidated

          damages. No deductions shall be made from this check and a Form 1099 shall be issued;

          and

                   ii.      A check in the amount of $1,500.00 made payable to his attorneys,

          Morgan & Morgan, P.A., for attorneys’ fees and costs.

          The settlement payments described in Paragraph 1 of this Agreement shall be due in

 Amaran’s counsel’s office (c/o Kim De Arcangelis, Esq., 20 N. Orange Avenue, Suite 1400,

 Orlando, FL 32801) on or before the dates specified therein. Should The Released Parties fail to

 make a payment(s) of the settlement funds as described in this Agreement, Plaintiff’s counsel

 shall give written notice of the default payment via email at Andrew Spark, Esquire via

 electronic mail at abspark@msn.com.               In the event that The Released Parties fail to cure the

 default by delivering the late payment(s) to Plaintiff’s counsel’s office within three (3) calendar


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  Installment one has been received by Plaintiffs’ counsel and will continue to be held in trust until the Court enters
 an Order approving this Agreement and dismissing the lawsuit with prejudice.


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Case 6:16-cv-02024-RBD-TBS Document 21-1 Filed 03/10/17 Page 10 of 13 PageID 97



 days of the written notice, the Parties stipulate to a final judgment against Noor Baig Inc. d/b/a 7-

 Eleven Store #36041A and Mirza R. Baig, jointly and severally, for the balance of all payments

 due under this Agreement, plus an additional $500.00 as liquidated damages, plus attorneys’ fees

 and costs incurred in securing such judgment. Morgan and Morgan, P.A. and Kim De

 Arcangelis, Esquire agree to hold all settlement checks described in Paragraph 1 of this

 Agreement in trust until the Court enters an Order approving this Agreement and dismissing the

 lawsuit with prejudice.

        2.      Court Approval of the Settlement and Dismissal of Lawsuit. Upon receipt of

 the fully executed Agreement, the Parties shall file a Joint Motion for Approval of the Settlement

 Agreement and for Dismissal of the Lawsuit with Prejudice.

        3.      Amaran’s Obligations to the Released Parties. Except as outlined in Paragraph 1

 of this Agreement, Amaran acknowledges that no other payments are due and owing to him as a

 result of the hours worked during his employment with the Released Parties. Amaran shall not

 initiate or instigate any future judicial or administrative proceedings against the Released Parties or

 anyone else that in any way involve allegations or facts arising from the hours worked during his

 employment with, or in connection to, the Released Parties in any forum as of the date of execution

 of this Agreement.

        4.      No Admissions. By entering into this Agreement, no Party admits any liability,

 fault or wrongdoing.

        5.      Payment of Attorney’s Fees. Each Party shall be responsible for payment of

 their own attorneys’ fees and costs, except as provided in Paragraph 1.

        6.      Authority to Enter Into Agreement. The Parties represent and warrant that they

 are authorized to enter into and that they have the authority to perform the terms of this




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Case 6:16-cv-02024-RBD-TBS Document 21-1 Filed 03/10/17 Page 11 of 13 PageID 98



 Agreement. The Parties represent and warrant that they have not sold, assigned, transferred,

 conveyed or otherwise disposed of all or any portion of the Released Claims.

        7.      Non-Severability. The other plaintiff to this action, Mario Amaran's Wife Lina

 Arguelles, has also entered into a settlement agreement to resolve this action. The Released

 Parties have entered into the settlement agreements in the expectation that the settlement with

 each plaintiff is dependent upon the settlement with both plaintiffs.

        8.      Execution of Agreement in Subparts. This Agreement may be executed in any

 number of counterparts, each of which shall be deemed to be an original, but all of which

 together shall constitute one and the same instrument. Facsimile and electronic copies of the

 executed Agreement shall have the same force and effect as an original copy.

        9.      Right to Attorneys’ Fees for Enforcement. In the event any Party breaches this

 Agreement, the non-breaching Party shall be entitled to enforce all provisions of this Agreement

 in Court seeking all remedies available to it both in law and equity. The prevailing Party shall be

 entitled to recover its attorneys’ fees and costs incurred in any proceeding to enforce this

 Agreement, including all fees and costs through all appeals.

        10.     Choice of Law and Venue. This Agreement shall be governed by and construed

 in accordance with the laws of the State of Florida, without regard to its choice of laws or

 conflict of laws principles.    The courts of Orange County, Florida, shall have exclusive

 jurisdiction over the Parties with respect to any dispute or controversy between them arising

 under, relating to, or in connection with this Agreement, and the Parties consent to such

 jurisdiction in such courts and waive any objections to jurisdiction.

        11.     No Reliance on Other Statements. Except as expressly provided herein, the

 Parties represent and warrant that in executing this Agreement, they do not rely upon and have




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Case 6:16-cv-02024-RBD-TBS Document 21-1 Filed 03/10/17 Page 12 of 13 PageID 99



 not relied upon any oral or written representation, promise, warranty or understanding made by

 any of the Parties or their representatives with regard to the subject matter, basis or effect of this

 Agreement.

        12.     Full Participation. The Parties acknowledge that each Party has participated in

 the drafting of this Agreement and each has had an equal opportunity to participate in the

 drafting of this Agreement. No ambiguity shall be construed against any Party based upon a

 claim that the Party drafted the ambiguous language.

        13.     Additional Facts. The Parties acknowledge and assume the risk that additional or

 different facts which they believe to exist may now exist or may be discovered after this

 Agreement has been entered into. The Parties agree that any such additional, different or

 contrary facts shall in no way limit, waive, affect or alter this Agreement.

        14.     Consultation. The Parties acknowledge that they have been advised to consult an

 attorney prior to signing this agreement. The Parties understand that whether or not they consult

 with an attorney is their decision. In this respect, Amaran has consulted with and been advised

 by Kim De Arcangelis, Esquire in this matter and is satisfied that Ms. De Arcangelis has

 provided him with excellent legal advice and has explained to him all of his options in

 connection with this Agreement. In addition, Noor Baig Inc. d/b/a 7-Eleven Store #36041A and

 Mirza R. Baig have consulted with and been advised Andrew Bennett Spark, Esquire in this

 matter and are satisfied that Mr. Spark has provided excellent legal advice and has explained to

 the Company all of its options in connection with this Agreement.

        15.     Full and Knowing Acceptance. This Agreement, consisting of six (6) pages, is

 freely and voluntarily entered into by the Parties. The Parties acknowledge that they have read




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Case 6:16-cv-02024-RBD-TBS Document 21-1 Filed 03/10/17 Page 13 of 13 PageID 100
